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Counsel for Highland Capital Management, L.P.


                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

HIGHLAND CAPITAL MANAGEMENT, L.P.,                  §
                                                    §
                                 Plaintiff,         §   Case No. 3:21-cv-00881-X
                                                    §
vs.                                                 §
                                                    §
HIGHLAND CAPITAL MANAGEMENT FUND                    §   (Consolidated with 3:21-cv-00880-
ADVISORS, L.P., et al.,                             §   X, 3:21-cv-01010-X, 3:21-cv-01378-
                                                    §   X, 3:21-cv-01379-X, 3:22-cv-789-X)
                                 Defendants.        §
                                                    §

            CERTIFICATE REGARDING JUDGE-SPECIFIC REQUIREMENTS




                                                1
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        I, the undersigned attorney, hereby certify that I have read and will comply with all

judge-specific requirements for Judge Brantley Starr, United States District Judge for the

Northern District of Texas.

        I further certify that no portion of any filing in this case will be drafted by generative

artificial intelligence or that any language drafted by generative artificial intelligence—including

quotations, citations, paraphrased assertions, and legal analysis—will be checked for accuracy,

using print reporters or traditional legal databases, by a human being before it is submitted to the

Court. I understand that any attorney who signs any filing in this case will be held responsible

for the contents thereof according to applicable rules of attorney discipline, regardless of whether

generative artificial intelligence drafted any portion of that filing.




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Dated: June 13, 2023            PACHULSKI STANG ZIEHL & JONES LLP

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